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FILED PARTIALLY UNDER SEAL

Exhibit 133

December 17, 2024 Notice
(Excerpt of Exhibit A Included As Exhibit 134)
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Catalina Re

December 17, 2024 Catalina U.S. Insurance Services LLC
5 Batterson Park Road, 3" Floor

Jeffrey Silver Farmington, CT 06032

Pennsylvania Insurance Company Catalinare.com

10805 Old Mill Road Administrator on behalf of:

Omaha, NE 68154 Alea North America Insurance Company

National American Insurance Company of California
National Home Insurance Company (RRG)
SPARTA Insurance Company

Re: Indemnification Claim Members of Catalina Holdings (Bermuda) Ltd.

Dear Mr. Silver:

I write on behalf of SPARTA in reference to the Stock Purchase Agreement
("SPA") among Pennsylvania General Insurance Company ("PGIC"), OneBeacon
Insurance Company ("OneBeacon"), and SPARTA Insurance Holdings, Inc. ("SPARTA")
dated as of March 12, 2007.

SPARTA has previously provided Pennsylvania Insurance Company ("PIC,"
formerly PGIC) with notice of various claims under Section 8.1 of the SPA, which relate to
insurance policies originally issued by American Employers’ Insurance Company
("AEIC"), for which PGIC agreed to indemnify SPARTA under the SPA. SPARTA also
reserved its right to advise PIC of the dollar amount of each such claim at a later date.

In prior correspondence on November 7, 2022, September 28, 2023, November 6,
2023, December 19, 2023, February 6, 2024, February 26, 2024, March 26, 2024, April 30,
2024, May 20, 2024, July 23, 2024, August 12, 2024, September 24, 2024, and October 17,
2024, SPARTA advised PIC that it had expended a total of| Redacted _|on the
previously noticed claims through September 30, 2024, and| Redacted ]in service fees paid
to A.G. Risk Management Inc. for processing those claims. SPARTA also informed PIC
that it reserved the right to provide PIC with notices regarding additional amounts
expended. To date, PIC has not made any payments to SPARTA.

Pursuant to Section 8.3 of the SPA, SPARTA hereby advises PIC that SPARTA has
expended an additional on the previously noticed claims through November
30, 2024, and an additional in service fees paid to A.G. Risk Management Inc.
See Exhibit A. Please promptly remit payment to SPARTA of that amount.

PIC is responsible for the handling and defense of these claims under the SPA and
the Instrument of Transfer and Assumption between PGIC and AEIC dated June 15, 2005.
Until PIC confirms that it will satisfy its contractual obligations to SPARTA by
administering and paying these claims, SPARTA may continue to protect its interest and
reserves all rights. The amounts set forth on Exhibit A are provided without prejudice to
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Catalina Re

SPARTA's right to recover additional amounts expended after November 30, 2024 in
furtherance of resolving these or other claims for which PIC is responsible, and to
SPARTA's right to recover legal fees as incurred or will incur due to PGIC's failure to
satisfy its obligations to SPARTA. SPARTA will provide PIC with any such additional
amounts expended by SPARTA periodically.

Please contact me if you need additional information or believe any of this is
incorrect.

Ve

ly, yours,
(
oshua Weiner
Enclosures

ce: Samuel C. Kaplan (via email w/enclosures as requested by PGIC)

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Excerpt of Exhibit A
Included As Exhibit 134
